     Case 2:13-cr-00361-KJD-GWF           Document 145        Filed 07/07/15      Page 1 of 2




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 7                           UNITED STATES DISTRICT COURT
 8                                    DISTRICT OF NEVADA
 9

10   UNITED STATES OF AMERICA,

11          Plaintiff,                                 Case No. 2:13-CR-00361-KJD-GWF

12   v.                                                ORDER

13   ALIA BOBER,

14          Defendant.

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16          Presently before the Court is Defendant Alia Bober’s Motion to Continue Sentencing Hearing

17   and Due Date for Sentencing Memorandum (#142). The Government filed a response in opposition

18   (#143). Having read and considered the motions and good cause appearing, the Court grants the

19   motion in part. The Court finds that the sentencing issues are not complex. Both defense attorneys

20   are seasoned professionals capable of addressing both the sentencing disparity issues and other

21   “outstanding sentencing issues[.]”

22          Accordingly, Defendant is granted a one week extension for filing of the sentencing

23   memorandum. The sentencing memorandum shall be filed on or before July 14, 2015. Any response

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     Case 2:13-cr-00361-KJD-GWF           Document 145       Filed 07/07/15     Page 2 of 2




 1   by the Government shall be filed on or before July 21, 2015. The sentencing hearing is continued

 2   until July 27, 2015 at 9 a.m.

 3   IT IS SO ORDERED.

 4          DATED this 7th day of July 2015.

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                                                 Kent J. Dawson
 8                                               United States District Judge

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